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                       A.E. Harth, Inc.
                       One Mill Race
                       Spring House, PA 19477



                       Ames Construction, Inc.
                       826 E. Main Street
                       Ephrata, PA 17522



                       Andrews Auto LLC
                       5402 Lincoln Highway
                       Gap, PA 17527



                       Aramark
                       AUS North Lock Box
                       PO Box 28050
                       New York, NY 10087



                       ARC Document Solutions, LLC
                       1005 Convention Plaza
                       Saint Louis, MO 63101



                       ARC' N J Welding, LLC
                       241 Ash Road
                       Coatesville, PA 19320



                       Arthur Funk & Sons, Inc
                       1405 Birch Road
                       Lebanon, PA 17042



                       Atlas Building Group
                       914 Hemsaath Road
                       Suite 100A
                       Saint Charles, MO 63303



                       Aus North Lockbox
                       PO Box 28050
                       New York, NY 10087
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                   AW Welding & Fabricating LLC
                   1614 Rawlinsville Road
                   Holtwood, PA 17532



                   Bauer Fastener
                   PO Box 180
                   Lancaster, PA 17608



                   BB Transport, LLC
                   43 Walkers Lane
                   Kinzers, PA 17535



                   Benchmark Construction Group, LLC
                   2501 Wharton Street
                   Philadelphia, PA 19146



                   Berks Ridge Company Enterprises, Inc.
                   Attn: Mr. James Davis, VP of Operations
                   316 Ruth Road
                   Harleysville, PA 19438



                   Blue Rock Construction, Inc.
                   1712 Hancock Lane
                   Burlington, NJ 08016



                   Boulevard Contractors Corp
                   10451 Mill Run Circle, Suite 1005
                   Owings Mills, MD 21117



                   Brunswick Builders, LLC
                   PO Box 7315
                   East Brunswick, NJ 08816



                   BSM, Inc.
                   841A Kutztown Road
                   Myerstown, PA 17067
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                   Builders Incorporated
                   4 Raymond Drive
                   Havertown, PA 19083



                   Builders, Inc.
                   Attn: Kevin Cliver, PM
                   4 Raymond Drive
                   Havertown, PA 19083



                   C&K Welding, LLC
                   4015 Bahn Ave
                   York, PA 17408



                   C.E. Gleeson Constructors, Inc.
                   984 Livernois Road
                   Troy, MI 48083



                   Callen Construction, LLC
                   Greg Cain
                   210 E. Elmer Road
                   Vineland, NJ 08360



                   Carlson Brothers, Inc.
                   17250 New Lenox Road
                   Joliet, IL 60433-9723



                   CCS Building Group, LLC
                   Attn: Mr. Justin Nolt, Sr. PM
                   598 Millwood Road
                   Willow Street, PA 17584



                   Certified Steel Co., Inc.
                   1333 Brunswick Pike, Suite 200
                   Lawrence Township, NJ 08648



                   Chester County Construction, LLC
                   165 Reeder Road
                   Honey Brook, PA 19344
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                   CK Replacement Stalls
                   330 Millwood Road
                   Lancaster, PA 17603



                   ConstructDesign Corporation
                   1910 Spring Garden St., #1
                   Philadelphia, PA 19130



                   Control Associates & MFG, LLC
                   1452 Woodlot Road
                   Manheim, PA 17545



                   Cooke's Construction LLC
                   c/o Anthony Cooke
                   18 Spruce Street
                   Ephrata, PA 17522



                   Costanza Builders, Inc.
                   15000 Commerce Parkway, Suite D
                   Mount Laurel, NJ 08054



                   CP Equipment, LLC
                   5925 Buena Vista Road
                   Gap, PA 17527



                   Curtis Welding & Fabricating, Inc.
                   50 Wright Avenue
                   Lititz, PA 17543



                   CVMNEXT Construction
                   1002 West 9th Avenue
                   King of Prussia, PA 19406



                   D'Lauro & Rodgers, Inc.
                   275 Commerce Drive, Suite 200
                   Fort Washington, PA 19034
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                   DOCEO Office Solutions
                   1499 S. Queen Street
                   York, PA 17403



                   Doug Howe, President
                   52 Mill Street
                   Christiana, PA 17509



                   Douglas L. Howe
                   52 Mill Street
                   Christiana, PA 17509



                   DRM Associates, Inc.
                   4334 Hanover Pike
                   Manchester, MD 21102



                   DS Pipe & Steel Supply, LLC
                   1301 Wicomico Street
                   PO Box 6367
                   Baltimore, MD 21230-6367



                   Eagle Engineering
                   154 Calvary Church Road
                   Wrightsville, PA 17368



                   Eagle Erectors, Inc.
                   3500 Wrangle Hill Road
                   Bear, DE 19701



                   Earl King Construction
                   218 W. Main Street
                   Leola, PA 17540



                   East Coast Steel Fab, LLC
                   PO Box 2193
                   Reading, PA 19608
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                   Esch Hay Equipment
                   3230 E. Gordon Road
                   Gordonville, PA 17529



                   Eshbro Construction, LLC
                   3734 East Newport Road
                   Gordonville, PA 17529



                   Freedom Enterprise, Inc.
                   PO Box 736
                   1741 Valley Forge Road
                   Worcester, PA 19490



                   Grace Construction Management Co.
                   1530 Glen Avenue, Suite 4
                   Manahawkin, NJ 08050



                   Green Tree Machine Works, LLC
                   1450 Valley Road
                   Quarryville, PA 17566



                   Greenpointe Construction, Inc.
                   Gagandeep Lakhmna
                   201 Spring Garden St., Apt 502
                   Philadelphia, PA 19123



                   Greiner Industries, Inc.
                   1650 Steel Way
                   Mount Joy, PA 17552



                   H.C. Pody Company
                   946 Simons Avenue
                   Bensalem, PA 19020



                   Haydon Bolts, Inc.
                   1181 Unity Street
                   Philadelphia, PA 19124-3104
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                   Hex 9 Design Architect
                   620 East Oregon Road
                   Lititz, PA 17543



                   High Construction Company
                   Attn: Mr. Greg Spaulding, PE
                   1853 William Penn Way
                   Lancaster, PA 17601



                   Holland Construction Corporation
                   751 Fredrick Street
                   Hanover, PA 17331



                   Hollenbach Construstion, Inc.
                   166 Holly Road
                   PO Box 507
                   Boyertown, PA 19512



                   Horst Road Repair, LLC
                   Gideon A. Fisher, Jr.
                   135 Horst Road
                   Myerstown, PA 17067-3061



                   I. Heller Construction Co., Inc.
                   205 Mill Road
                   Edison, NJ 08837



                   Irwin & Leighton, Inc.
                   Attn: Mr. Dan Sabatino, Sr. PM
                   1014 West 9th Avenue
                   King of Prussia, PA 19406



                   JR Fulmer
                   460 Cinder Road
                   New Providence, PA 17560



                   Kirkwood Equipment & Manufacturing, Inc.
                   834 Pumping Station Road
                   Kirkwood, PA 17536
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                   L.R. Costanzo Company, Inc.
                   6801 Tilghman Street
                   Allentown, PA 18106



                   L.R. Costanzo Company, Inc.
                   123 North Main Avenue
                   Scranton, PA 18504



                   Landis Technologies, LLC
                   1120 Division Highway
                   Ephrata, PA 17522



                   Level Up Development LLC
                   2232 Frankford Avenue
                   Philadelphia, PA 19125



                   Line Mountain Fab, LLC
                   680 Hebe Bypass Road
                   Herndon, PA 17830



                   Lynmar Builders
                   261 Harvard Avenue
                   Westville, NJ 08093



                   MBP Dispute Resolution
                   Four Radnor Corporate Center
                   100 Matsonford Road, Suite 110
                   Wayne, PA 19087



                   McNees Wallace & Nurick
                   PO Box 1166
                   Harrisburg, PA 17108-1166



                   McNichols Co
                   PO Box 101211
                   Atlanta, GA 30392-1211
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                   Meizinger Construction Services, Inc.
                   12285 McNulty road
                   Philadelphia, PA 19154



                   Metals USA
                   PO Box 827110
                   Philadelphia, PA 19182-7110



                   Michael W. Winfield, Esquire
                   Post & Schell, PC
                   17 North Second St., 12th Fl
                   Harrisburg, PA 17101



                   Mill Street Real Estate, LLC
                   150 Culbertson Run Road
                   Downingtown, PA 19335



                   Nate's Automotive
                   239 Maple Avenue
                   Bird in Hand, PA 17505



                   National Veteran Contractors, LLC
                   1A Blueridge Avenue
                   Dunellen, NJ 08812



                   New Millennium Building Systems
                   PO Box 532097
                   Atlanta, GA 30353-2097



                   North Star Construction Management, Inc.
                   645 Hamilton Street, Suite 28
                   Allentown, PA 18101



                   Parkview Builders, Inc.
                   234 Broadway, 3rd Floor
                   Brooklyn, NY 11211
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                    Paul Risk Construction
                    11 West State Street
                    Quarryville, PA 17566



                    Pelco Builders, Inc.
                    699 West Glenrose Road
                    Coatesville, PA 19320



                    Pelet-Welding, Inc.
                    19 North 12th Ave
                    Coatesville, PA 19320



                    Pelican Constructions, Inc.
                    370 Campus Drive
                    Somerset, NJ 08873



                    Pennsylvania Construction Associates Inc
                    2583 Interstate Drive
                    Harrisburg, PA 17110



                    PeopleReady, Inc.
                    PO Box 641034
                    Pittsburgh, PA 15264-1034



                    Phoenix Construction and Management
                    3553 West Chester Pike, #335
                    Newtown Square, PA 19073



                    Pine Lane Repair
                    c/o Jacob Swarey
                    1246 S. College Street
                    Myerstown, PA 17067



                    Poole Anderson Construction, LLC
                    2121 Old Gatesburg Road, Suite 200
                    State College, PA 16803
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                    Quandel Construction Group, Inc.
                    Attn: Brandon Motuk, Sr. PM
                    2601 Market Place, Suite 200
                    Harrisburg, PA 17110



                    R&B Wagner
                    PO Box 423
                    Butler, WI 53007



                    Reed Street Builders, LLC
                    2501 Wharton Street
                    Philadelphia, PA 19146



                    Rhoads Energy Corp
                    PO Box 1198
                    Lancaster, PA 17608



                    Rydberg Engineering Pvt. Ltd
                    Mrinal Smriti Apartment
                    Block A Ground Floor Kalyannagar Near
                    Kalayannagar Vidyapith, Khardah Kolkata
                    700112



                    Sam's Mechanical Service, LLC
                    5736 Lincoln Highway
                    Gap, PA 17527



                    Scott A. Rouhier
                    2109 Lyndell Drive
                    Lancaster, PA 17601



                    SEK Construction, LLC
                    1361 Briertown Road
                    East Earl, PA 17519



                    Spark Fabricators, LLC
                    6381 White Oak road
                    Christiana, PA 17509
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                    Stewart & Tate
                    Attn: Mr. John Kerchner, VP
                    950 Smile Way
                    York, PA 17404



                    Stoltzfus Welding & Rentals, LLC
                    5195 Martin Drive
                    Gap, PA 17527



                    Sweeping Hollow Carpentry, LLC
                    529 Bellas Hollow Road
                    Danville, PA 17821



                    T Long Construction, LLC
                    101 Greenwood Ave., Suite 160
                    Jenkintown, PA 19046



                    The Blue Book
                    PO Box 500
                    Jefferson Valley, NY 10535



                    Triad Metals International
                    1 Village Road
                    Horsham, PA 19044-3800



                    Triple-S Steel/Intsel Steel
                    Intsel Steel East, Inc.
                    PO Box 301212
                    Dallas, TX 75303-1212



                    United Rentals
                    Credit Office #214
                    PO Box 100711
                    Atlanta, GA 30384-0711



                    Valmont Industries, Inc.
                    PO Box 101021
                    Atlanta, GA 30392
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                    Vedaker Enterprises, LLC
                    31 Apple Blossom Drive
                    Lancaster, PA 17602



                    Waverly Custom Home
                    711 Mount Mor Road
                    Villanova, PA 19085-2006
